     Case 3:14-cv-00005-W-DHB Document 14 Filed 05/04/15 PageID.66 Page 1 of 1



                          UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF CALIFORNIA


QUINELLA SMITH,                           CASE NO. 14CV0005-W(DHB)

                      Plaintiff,
               vs.                        JUDGMENT AND DISMISSAL BY COURT
                                          UNDER Local Cv Rule 41.1 FOR WANT OF
MIDLAND CREDIT MANAGEMENT,                PROSECUTION
INC. ,

                      Defendant.



The above-entitled cause, having come before the court on a calendar called

pursuant to notice under Local Cv Rule 41.1, and it appearing to the court
                                                          I


that this action has been pending in this court fo~ more than six months

without any proceeding having been taken therein during such period,

therefore,



IT IS ORDERED, ADJUDGED AND DECREED that the above-ent         led cause is hereby

dismissed, without prejudice, for want of prosecution.




 DATED:05/04/15
                                           Hon. Tho      Whelan, U.S.   strict
                                           UNITED STATES DISTRICT JUDGE



                                             ENTERED ON
